 OppeR, J., dissenting: Decision of this proceeding for respondent seems to me to be compelled by Louis Stockstrom, 3 T. C. 255; affd. (C. C. A., 8th Cir.), 148 Fed. (2d) 491; certiorari denied, 326 U. S. 719, and similar authorities, particularly Joel E. Hall, 4 T. C. 506. The latter case was reversed by a divided court, 150 Fed. (2d) 304 (C. C. A., 10th Cir.), but I think we should adhere to our original view. Cf. Talbot Mills v. Commissioner, 326 U. S. 521, majority and dissenting opinions. See also Edison v. Commissioner (C. C. A., 8th Cir.), 148 Fed. (2d) 810; Funsten v. Commissioner (C. C. A., 8th Cir.), 148 Fed. (2d) 805; Stockstrom v. Commissioner (C. C. A., 8th Cir.), 151 Fed. (2d) 353; Miller v. Commissioner (C. C. A., 6th Cir.), 147 Fed. (2d) 189; Anna Morgan, 5 T. C. 1089. It is the degree of control which is determinative; petitioner, the grantor, was vested with extremely broad power of management, and in addition the power to make or withhold payments of income. She was thus, as in Anna Morgan, supra, “in a position to accumulate trust income, add it to principal, and thereby succeed in changing the recipient from the income beneficiary to the remainderman * * It does not suggest any diminution of her retained interest that she would herself be that remainderman upon her childless son’s intestate death before reaching thirty. The breadth of petitioner’s potential benefit from the trust is instanced by the insurance transactions. That there were not more is evidence not of a lack of control, but of an absence of desire to exercise it. I think the determination should be sustained. 